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           Thomas Eugene Creech v. Idaho Commission of Pardons and Parole, et al.
                                                      Case No. 1:24-cv-00066-AKB
                                  Filed in Support of Motion to Expedite Discovery




                   EXHIBIT 1
DocuSign Envelope ID: 527BCA86-98DF-4F0D-839D-8D8498977C49
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                     I, Richard Quindry, mindful of the penalties of perjury, declare as follows:

                     1. I am a person over eighteen (18) years of age and competent to testify.

                     2. I have been self-employed as a commercial photographer for 50 years and have been

                         consulting on criminal cases as a photo expert since 2008. My services include

                         determining the legitimacy of photographic evidence, analyzing metadata, and

                         enhancing photographs.

                     3. I have been retained by the Federal Defender Services of Idaho as an expert to

                         analyze photographic evidence.

                     4. I have been provided with a PDF file of a PowerPoint slide used in the clemency

                         hearing of Thomas Eugene Creech on January 19, 2024. The slide includes a photo of

                         a sock purported to be used in the crime.

                     5. The PDF image of the sock is woefully inadequate for me to examine.

                     6. To analyze this photographic evidence, I would need to examine the original out-of-

                         camera JPEG or RAW file used in the slide. An original JPEG or RAW file is of much

                         higher quality than an image in a PDF file and provides critical metadata. I am unable

                         to make any determinations regarding the legitimacy of this photographic evidence

                         without the original photo used in the PowerPoint.

                     7. I declare under penalty of perjury that the foregoing is true and correct.



                     Executed on this ____
                                       7th day of _______________
                                                   February       2024, at Hatfield, Pennsylvania.



                                                                     ________________________
                                                                     Richard Quindry




            DECLARATION OF RICHARD QUINDRY - 1
